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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 04-CR-126-PB

Jerry Shanahan, et al.



                               O R D E R

     I enter the following rulings with respect to defendants’

motion for a bill of particulars and additional discovery:

     1.   I deny defendants’ request for a bill of particulars

requiring the government to identify unindicted co-conspirators.

Defendants are simply incorrect in claiming that pretrial

disclosure of unindicted co-conspirators is required to enforce

United States v. Petrozziello, 548 F.2d 20 (1st Cir. 1977).

Moreover, given the detailed nature of the indictment and the

voluminous discovery that has been produced, I am unconvinced

that there is any other reason why the government should be

required to disclose unindicted co-conspirators prior to trial.

     2.    I deny defendants’ request for a bill of particulars

requiring the government to more particularly describe all false

statements attributable to the defendants with greater
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particularity.      The indictment specifies the transactions that

support the charges against the defendants and the government has

disclosed its evidence supporting the charges.           No more is

required.

      3.    The government shall make a supplemental expert

disclosure on or before August 1, 2005.         The defendants may

challenge the sufficiency of the supplemental disclosure.

      Defendants’ motion for a bill of particulars and to compel

discovery (doc. no. 78) is denied.

      SO ORDERED.



                                         ________________________
                                         Paul Barbadoro
                                         United States District Judge
June 24, 2005

cc:   Peter D. Anderson, Esq.
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